     Case 2:05-cr-00243-WBS-CKD Document 253 Filed 10/20/17 Page 1 of 2


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 8                                UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                         No. 2:05-cr-0243 WBS CKD P
12                      Respondent,                    No. 2:12-cv-2987 WBS CKD
13           v.                                        ORDER
14   JARVIS MARQUEZ TUBBS,
15                      Movant.
16

17           Movant, a federal prisoner proceeding with counsel, has filed a motion to vacate, set

18   aside, or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United

19   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20           On September 15, 2017, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within fourteen days. Movant has filed

23   objections to the findings and recommendations.

24           In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

25   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

26   court finds the findings and recommendations to be supported by the record and by proper

27   analysis.

28   /////
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     Case 2:05-cr-00243-WBS-CKD Document 253 Filed 10/20/17 Page 2 of 2


 1            Accordingly, IT IS HEREBY ORDERED that:

 2            1. The findings and recommendations filed September 15, 2017, are adopted in full;

 3            2. Respondent’s motion for a stay is denied;

 4            3. Movant’s December 16, 2016, third amended motion for habeas relief under 28 U.S.C.

 5   § 2255 (ECF No. 231) is denied;

 6            4. The court issues the certificate of appealability referenced in 28 U.S.C. § 2253 on the

 7   question of whether movant’s conviction of armed bank robbery under 18 U.S.C. § 2113(a) and

 8   (d) was a conviction of a crime of violence within the meaning of 18 U.S.C. § 924(c); and

 9            5. The Clerk of the Court is directed to close the companion civil case, No. 2:12-cv-2987

10   WBS CKD.

11   Dated: October 19, 2017

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